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11
12                             UNITED STATES DISTRICT COURT
13                         CENTRAL DISTRICT OF CALIFORNIA
14
     UNITED STATES,                           Case No. CR-08-582-GW
15
                  Plaintiff,                  APPLICATION FOR RELEASE PENDING
16                                            APPEAL
          vs.
17
     LORI DREW,
18
                  Defendant.
19
20
21        Comes now defendant, together with counsel, and submits the
22   following application for bail pending appeal.
23
24   Dated: May 15, 2009              s./ H. Dean Steward
25                                       H. Dean Steward
                                         Orin Kerr
26                                       Counsel for Defendant

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 1   I. INTRODUCTION
 2        Pending before this Court is a Rule 29 motion to dismiss. The
 3   defense continues to urge the Court to grant that motion. In the
 4   alternative, the defense has asked this Court to follow the
 5   recommendation of Probation (minus the fine), and impose a
 6   probationary defense on the defendant. If, however, the court
 7   declines to follow either defense recommendation, defendant asks
 8   the Court to allow bail during the appeal process, for the reasons
 9   set out below. Defendant is currently on a $20,000 signature bond,
10   which is more than sufficient for bail pending appeal. Because Ms.
11   Drew satisfies the requirements of 18 USC Sec. 3143, the Court
12   should permit her to remain on bond pending appeal.
13
14   II. THE STANDARD
15        Under the Bail Reform Act of 1984, the district court must
16   release a defendant pending appeal if it makes three findings.
17   First, the court must find that the defendant will not flee or pose
18   a danger to the community if the court grants bail.         See 18 U.S.C.
19   § 3143(b)(1)(A).   Second, the court must find that “the appeal is
20   not for the purpose of delay.” Id. § 3143 (b)(1)(B).         Third, the
21   court must find that the appeal “raises a substantial question of
22   law or fact likely in” reversal, a new trial, “a sentence that does
23   not include a term of imprisonment,” or “a reduced sentence to a
24   term of imprisonment less than…the expected duration of the appeal
25   process.” Id. § 3143 (b)(1)(B); see, e.g., United States v. Handy,
26   761 F.2d 1279, 1281 (9th Cir. 1985).
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 1   III. FLIGHT RISK AND DANGER
 2        The first finding is not in dispute.       Ms. Drew is clearly not
 3   likely to flee, nor pose a danger to the community.         She was been
 4   on bond uneventfully for more than a year.
 5        To determine whether the defendant poses a flight risk or
 6   danger to the community the court must weigh four factors. First,
 7   “the nature and circumstances of the offense charged.”         See 18
 8   U.S.C. § 3142(g)(1).    Second, “the weight of the evidence against
 9   the person.” Id. § 3142 (g)(2).     Third, “the history and
10   characteristics of the person, including – the person’s character,
11   family ties, employment, length of residence in the community,
12   criminal history, and record concerning court proceedings.” Id. §
13   3142(g)(3)(A).   “Whether at the time of the offense the person was
14   on probation, parole, or on other release.” Id. § 3142(g)(3)(B).
15   Fourth, the court must look at “the nature and seriousness of the
16   danger to any person or the community that would be posed by the
17   person’s release.” Id. § 3142(g)(4). Reviewing the Pre-Sentence
18   Report herein, all factors above are favorable to Ms. Drew.
19        Ms. Drew was convicted of three misdemeanors under the
20   Computer Fraud and Abuse Act. The evidence has shown Ms. Drew is
21   not a danger to the community.     She has been convicted of non-
22   violent misdemeanors: flight and danger to the community are simply
23   not issues.
24
25   IV. DELAY
26        As to the second finding under § 3143(b), there is no dispute
27   that Ms. Drew’s appeal is not “for purposes of delay.”         Ms. Drew
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 1   has maintained her innocence throughout this process, and will
 2   present to the Ninth Circuit the significant issues that this Court
 3   decided adversely to her during and after trial.        She has every
 4   intention of proceeding promptly with this appeal.
 5
 6   V. SUBSTANTIAL QUESTION
 7        The following issues are at least “fairly debatable” under the
 8   test set out in Handy, supra.
 9        The first issue is whether an intentional violation of Terms
10   of Service violates the Computer Fraud and Abuse Act.         As the Court
11   is aware, this case is the very first prosecution ever brought
12   under the Computer Fraud and Abuse Act for Terms of Service
13   violations.   It is an aggressive prosecution brought after the U.S.
14   Attorney’s Office in Missouri declined prosecution on the ground
15   that no crime had been committed.
16        This Court has received extensive briefing and oral argument
17   on whether intentional TOS violations are a crime, and it has
18   recognized repeatedly that this presents a novel and very difficult
19   question of law.   Further, the existing precedents interpreting the
20   Computer Fraud and Abuse Act are sparse and uncertain.         As the
21   government concedes, lower courts are divided in the civil context
22   on how broadly to interpret the statute.       The Ninth Circuit has not
23   yet taken a view on the scope of the Act.       In light of the
24   aggressive nature of the government’s case, and the uncertainty of
25   the law, Ms. Drew’s appeal would raise a substantial question of
26   law based on this question alone. This issue in particular is
27   “novel”, not decided by controlling precedent, and should entitle
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 1   Ms. Drew to bail on appeal. U.S. v. Miller 753 F.2d 19 (3rd Cir.
 2   1985).
 3        The second question the defense expects to raise on appeal is
 4   whether there was sufficient evidence that the Terms of Service
 5   violations were intentional. As Ms. Drew explained in her Rule 29
 6   motion, there is no evidence that Drew read or was aware of the
 7   Terms of Service or that any violations were intentional.
 8        The third question involves the admission of testimony and
 9   evidence regarding the death of M.T.M. Again as this Court will
10   recall, the defense objected in limine to the admission of this
11   evidence. This Court surely found this to be at least “a close
12   question, one that could be decided either way”. U.S. v. Giancola
13   754 F.2d 898 (11th Cir. 1985).    This Court’s tentative thoughts on
14   November 10, 2008 were to exclude the evidence, and then finally
15   deciding on November 14, 2008 to allow it.
16        Additional issues may include the First Amendment issue raised
17   by the amicus in their brief dated August 11, 2008, together with
18   the issue of dismissal of the     indictment for failure to state an
19   offense and vagueness, the objected-to overbreadth of the
20   indictment, and the
21   improper delegation of authority, also raised by pre-trial motion.
22
23   VI. MISDEMEANOR MATTER
24        While all criminal cases in the federal system are serious,
25   the three counts involved here are all misdemeanors. These
26   convictions do not carry the weight, stigma and penalties of felony
27   convictions. Committing an individual to federal prison while
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 1   awaiting rulings from the Circuit on important legal questions on
 2   misdemeanors would be unfair and unreasonable.
 3
 4   VII. CONCLUSION
 5        For the reasons set out above, the defense asks to Court to
 6   allow Ms. Drew to remain on bond, if the Court should deny the Rule
 7   29 and disagree with the recommendation from Probation.
 8
 9   Dated: May 15, 2009        s./ H. Dean Steward
10                                  H. Dean Steward
                                    Orin Kerr
11                                  Counsel for Defendant
                                    Lori Drew
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 1   CERTIFICATE OF SERVICE
 2
 3
 4   IT IS HEREBY CERTIFIED THAT:

 5   I, H. Dean Steward, am a citizen of the United States, and am at

 6   least 18 years of age. My business address is 107 Avenida Miramar,
 7   Ste. C, San Clemente, CA 92672.
 8
          I am not a party to the above entitled action. I have caused,
 9
     on MAY 15, 2009, service of the defendant=s:
10
     APPLICATION FOR BAIL PENDING APPEAL
11
     On the following parties electronically by filing the foregoing
12
13   with the Clerk of the District Court using its ECF system, which

14   electronically notifies counsel for that party.
15   AUSA MARK KRAUSE- LA
16
17
18
     I declare under penalty of perjury that the foregoing is true and
19
     correct.
20
21   Executed on MAY 15, 2009

22   H. Dean Steward

23   H. Dean Steward
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